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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

V. Case No. 21-cr-3 (RCL)
£2FECED-UNDER SEAL**
JACOB ANTHONY CHANSLEY, Antealet Asie

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Defendant.

 

MEMORANDUM OPINION AND ORDER

Twice, this Court has denied defendant Jacob Anthony Chansley’s requests for pre-trial
release. This Court denied Chansley’s first request after finding that no conditions of release would
reasonably assure either the safety of others and the community or his appearance as required. See
United States v. Chansley, No. 21-CR-3-RCL, 2021 WL 861079, at *1 (D.D.C. Mar. 8, 2021).
After Chansley moved to reopen his detention hearing, the Court again denied Chansley’s request
for release because he failed to proffer new information with a “material bearing” on his flight
risk. See United States v. Chansley, No. 21-CR-3-RCL, 2021 WL 2809436, at *1 (D.D.C. July 6,
2021). Now Chansley moves for release for a third time, this time with a new proposed plan for
supervision. ECF No. 67. The government opposes his motion. ECF No. 68. While Chansley
initially moved for release pending trial, he has subsequently pleaded guilty to Count Two of his
Indictment. ECF No. 69. Accordingly, this Court will evaluate his motion pursuant to the legal
standards governing release pending sentencing.

Upon consideration of the parties’ briefs, the arguments offered at the hearing, and the
record herein, the Court will DENY Chansley’s motion for release from custody pending

sentencing.
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I. BACKGROUND

This Court has set forth the facts and procedural history of the case in its first Memorandum
Opinion denying Chansley’s motion for pre-trial release. See Chansley, 2021 WL 861079, at *1—
4. After his arrest, a magistrate judge ordered Chansley detained pending trial. Jd. Chansley moved
for this Court to revoke the detention order and release him. /d. When evaluating his request, the
Court found by clear and convincing evidence that no condition or combination of conditions
would reasonably assure the safety of the community. Jd. at *8—-14. It also found by a
preponderance of the evidence that there was no condition or combination of conditions that would
reasonably assure Chansley’s appearance as required—in other words, that he was not a flight risk.
Id. at *14-15. The Court consequently denied Chansley’s motion for pre-trial release. /d. at *1.

Chansley then moved to reopen his detention hearing and be released pending trial. ECF
No. 40. Evaluating this motion, the Court found that Chansley had not provided any new
information with a “material bearing” on whether there was any condition or combination of
conditions that would reasonably assure that he would not flee pending trial. Chansley, 2021 WL
2809436, at *1. Because Chansley failed to provide this required information, the Court denied his
motion. /d. at *5. And since Chansley was required to proffer new information with a “material
bearing” on both the issue of his dangerousness and the issue of his potential flight risk, the Court
did not address his dangerousness. /d. at *1.

Now Chansley moves again in a third attempt to secure immediate release. ECF No. 67.
This Court notes that Chansley’s motion was filed as a motion for pre-trial release. Jd. However,
after Chansley filed his motion and the government filed its opposition, Chansley pleaded guilty

to Count Two of his Indictment and is currently awaiting sentencing. ECF No. 69 at 1. At
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Chansley’s plea-agreement hearing, his counsel requested that the Court “recharacterize”
Chansley’s motion for pre-trial release as a motion for pre-sentencing release. The Court advised
counsel that it would take Chansley’s motion under advisement to determine whether he qualified
for pre-sentencing release, which is governed by different legal standards.

In Chansley’s motion, he references his psychological evaluation report and argues that it
is important for his continued mental competency that he avoids certain psychological “triggers.”
ECF No. 67-1 at 1. He mentions his desire to visit his grandfather, whose ill health he considers a
triggering event. /d. at 3. Chansley also argues that his current detention prevents him from having
“meaningful protracted meetings” with his counsel to review discovery evidence. Id. at 4.

The remainder of Chansley’s motion presents a potential plan for release, detailing where
and with whom he would live. Jd. at 4-7. Chansley’s counsel has “identified” a potential hideaway
location for Chansley to live pending sentencing, which he describes in detail. Jd. at 5. The owners
of the premises are personal acquaintances of Chansley’s counsel. /d. Chansley further lists a
psychotherapist, a doctor, and two former law enforcement officials in his motion. /d. at 7. All are
personally known to his counsel. /d. At Chansley’s plea-agreement hearing, his counsel further
offered to share responsibility for Chansley if he were released.

In response, the government opposes Chansley’s motion, arguing that none of the factors
above affect the Court’s analysis under 18 U.S.C. § 3142(g). ECF No. 68-1 at 1.

II. LEGAL STANDARDS

Before a guilty plea, “liberty is the norm and detention prior to trial . . . is the carefully
limited exception.” United States v. Salerno, 481 U.S. 739, 755 (1987). But once a defendant is
convicted or pleads guilty, detention is subject to a different legal standard. United States v. .

Wiggins, No. 19-CR-258-KBJ, 2020 WL 1868891, at *4(D.D.C. Apr. 10, 2020). After a plea, “far
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from promoting liberty, a court is generally required to detain the defendant as the background
rule.” Jd.

The statute governing pre-sentencing detention places defendants into two categories.
Defendants convicted of specific offenses, including crimes of violence, are subject to mandatory
detention unless extremely limited circumstances apply. 18 U.S.C. § 3143(a)(2). Section
3143(a)(2) cross-references the offenses listed in § 3142(f)(1)(A){C) of the Bail Reform Act.! 18
U.S.C. § 3143(a)(2). Defendants who are convicted of or plead guilty to these enumerated crimes
must be detained unless (1) there is either a “substantial likelihood that a motion for acquittal or
new trial will be granted” or the government has recommended no sentence of imprisonment; and
(2) the court finds by “clear and convincing evidence” that the person is neither a flight risk nor a
danger to the community. /d. at § 3143(a)(2)(A)-(B).

All other defendants are subject to a presumption of detention, which can be rebutted only
by “clear and convincing evidence that the person is not likely to flee or pose a danger to the safety
of any other person or the community if released.” 18 U.S.C. § 3143(a)(1). As other courts in this
District have explained, § 3143(a)(1) requires the Court to conduct the same analyses of flight risk
and dangerousness used in the pre-trial context, but with the burden shifted. See Wiggins, 2020
WL 1868891, at *4; United States v. Weekes, No. 13-CR-187-KBJ, 2013 WL 6571598, at *1

(D.D.C. Dec. 13, 2013). Now the defendant must convince the Court that he is neither a flight risk

 

' Mandatory pre-sentencing detention applies to the crimes mentioned in § 3142(f)(1)(A){C) of the Bail
Reform Act: crimes of violence; certain sex trafficking violations; certain federal crimes of terrorism;
offenses with a maximum sentence of life imprisonment or death; and specific controlled substances
offenses. 18 U.S.C. § 3142(f)(1)(A)HC). The Bail Reform Act defines a “crime of violence” as (A) “an
offense that has as an element of the offense the use, attempted use, or threatened use of physical force
against the person or property of another,” (B) “any other offense that is a felony and that, by its nature,
involves a substantial risk that physical force against the person or property of another may be used in the
course of committing the offense,” or (C) “any felony under chapter 77, 109A, 110, or 117.” 18 U.S.C. §
3156(a)(4).
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nor a danger to the safety of others or the community. Wiggins, 2020 WL 1868891, at *4. When
making this determination, the Court evaluates the record considering the same four dangerousness
and flight-risk factors laid out in § 3142(g). Jd. at *5.

III. DISCUSSION

A. Chansley’s Pre-Sentencing Detention Must Be Evaluated Under 18 U.S.C.
§ 3143(a)(1)

As an initial matter, this Court must first determine what variety of analysis applies to
Chansley—the “clear and convincing” evidence standard of § 3143(a)(1) or the more stringent
standard in § 3143(a)(2). The charge to which Chansley has pleaded guilty is plainly not one of
the offenses in § 3143(a)(2). Chansley pleaded guilty to one felony: 18 U.S.C. § 1512(c)(2),
obstruction of an official proceeding. ECF No. 69. As both parties have previously agreed, ECF
No. 12 at 18; ECF No. 17 at 2 n.2, and this Court has found, this felony is not a “crime of violence”
as defined by the Bail Reform Act, Chansley, 2021 WL 861079, at *7. Nor is it one of the other
crimes specifically enumerated in § 3142(f)(1)(A)-(C). Indeed, the government did not even
pursue pre-trial detention under § 3142(f)(1)(A), (B), or (C), instead arguing that Chansley was
subject to detention based on § 3142(f)(1)(E). /d. Chansley is thus subject to the “clear and
convincing” pre-sentencing detention analysis of § 3143(a)(1).

B. Chansley Failed to Show by Clear and Convincing Evidence That He Is “Not Likely
to Flee,” As Required by 18 U.S.C. § 3143(a)(1)

After Chansley’s first detention hearing, this Court found by a preponderance of the
evidence that no condition or combination of conditions would ensure that he would not flee. See
Chansley, 2021 WL 861079, at *14-15. Now, after pleading guilty, Chansley faces an even heavier
burden: he must convince the Court by clear and convincing evidence that he is not likely to flee,

considering the same § 3142(g) factors. 18 U.S.C. § 3143(a)(1). As discussed below, nothing in
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Chansley’s motion or the record significantly affects this Court’s analysis regarding his potential
flight risk.

The Court reiterates the reasons set forth in its March 8, 2021] Memorandum Opinion:
Chansley is a mascot of “QAnon,” an active conspiracy group.” Chansley, 2021 WL 861079, at
*14, Given his high-profile status as a member (or former member) of this group, the government
has alleged he is able to “quickly raise large sums of money for travel through non-traditional
sources” and has previously “demonstrated an ability to travel long distances using untraceable
methods.” Jd. The Court has repeatedly cited this ability as a deciding factor when evaluating
Chansley’s potential release.

None of the evidence put forth in Chansley’s motion for release mitigates these concerns.
Chansley proffers a plan for release. ECF No. 67-1 at 5-7. While the plan details several potential
joint custodians, id. at 7, it fails to explain how these custodians will ensure that Chansley will
appear for sentencing. Chansley mentions that a psychotherapist will meet with him for counseling
up to three times a week, and a medical doctor will monitor his physical health at least once a
week. /d. at 7. But beyond this description of medical attention, Chansley’s motion amounts to no
more than a list of names and a location. He provides no explanation of how these individuals
reduce his flight risk. Will they merely provide guidance and support? How will they prevent

Chansley from fleeing if he so desires?

 

? Chansley’s counsel said in a statement that Chansley “repudiated” QAnon. See Alan Feuer, “Capitol
Rioter Known as QAnon Shaman Pleads Guilty,” The New York Times (Sept. 3, 2021),
https://www.nytimes.com/2021/09/03/us/politics/qanon-shaman-capitol-guilty.html. Chansley has not
personally indicated as such to this Court. Still, regardless of any potential repudiation, there is no doubt
that he is a mascot for the QAnon movement. Hundreds of attendees joined Chansley’s September 3, 2021
plea-agreement hearing on the public access line, and at least once this Court’s proceedings were interrupted
with shouts of “Freedom!”
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The plan does not mitigate the possibility that Chansley’s supporters will enable him to
quickly raise money and flee. Chansley, 2021 WL 861079, at *14. Nor does it explain in sufficient
detail how these custodians, many of whom Chansley has seemingly never met, will prevent him
from absconding. While personal and community ties can lessen a defendant’s potential flight risk,
see United States v. Xulam, 84 F.3d 441, 443 (D.C. Cir. 1996), it is Chansley’s counsel, not
Chansley, with ties to the places and individuals described in the motion.

Further, the family ties that Chansley does have hardly mitigate his potential flight risk.
His mother has repeatedly stated that he has done nothing wrong. Chansley, 2021 WL 861079, at
*14, She believes Chansley to be “innocently sitting in a prison cell.” Jd. Without another custodian
Chansley is beholden to (or even acquainted with), without an explanation of how these individuals
will prevent Chansley from fleeing, and without other evidence to mitigate this Court’s concerns
about Chansley’s flight risk, this arrangement does not persuade the Court by clear and convincing
evidence that Chansley will not flee.

Chansley’s remaining arguments are without merit. His mention of the potential for
“triggering events” to his competency, ECF No. 67-1 at 1-3, does not alter the Court’s analysis.
Nor does Chansley’s passing reference to his issues “arising out of long term survival of significant
amounts of radiation... in 2003.” ECF No. 67-1 at 7. And any potential issue with access to
Chansley’s counsel for the purposes of reviewing discovery evidence has been alleviated by
Chansley’s plea. ECF No. 67-1 at 4. Importantly, he does not explain how any of these factors
bear on the question at hand: whether Chansley will flee.

The Court is pleased to see the evolution in Chansley’s thinking from the virulent
statements he made immediately after the January 6 Capitol riot, ECF No. 70 at 6, and his denial

of responsibility on 60 Minutes+ in March, Chansley, 2021 WL 861079 at *11, to his acceptance
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of responsibility at his plea-agreement hearing. Chansley has admitted to his crime and
acknowledged its wrongfulness—far beyond what many other January 6 Capitol riot defendants
have done. This Court will credit this acceptance of responsibility at time of sentencing. The Court
hopes that Chansley’s change of heart is sincere.’

But the Court is also disappointed that Chansley’s acceptance of responsibility was not
more fulsome. Section 3143(a)(1) requires courts to apply a presumption of detention. Considering
the heavy statutory burden Chansley faces in securing pre-sentencing release, the Court would
have appreciated a greater step forward in acknowledging the wrong he committed. Chansley has
a constitutional right to peacefully demonstrate. He even has a constitutional right to disbelieve
the results of the 2020 presidential election. But he has never had the right to force his way
“through the barricades and past Capitol Police officers” into the Senate Chamber to disrupt the
certification of our democratic election. Chansley, 2021 WL 861079, at *1. Harm befell the nation
as a result of Chansley’s actions on January 6, 2021. Given Chansley’s serious crime—and the
Court’s general requirement to detain pre-sentencing defendants “as a background rule”—it would
take more than a perfunctory acknowledgement of contrition to convince the Court that his change
of heart decreased his flight risk. Wiggins, 2020 WL 1868839, at *4.

Accordingly, the Court finds that Chansley has failed to present clear and convincing

evidence that he is not a flight risk, as required by § 3143(a)(1).4

 

3 The Court’s hopes have been recently dashed when, a day after sentencing, another January 6 defendant
made statements in an interview that directly conflicted with the contrite statements she made to the
undersigned.

‘ For release pending sentencing, this Court must find by clear and convincing evidence that the defendant
is both not a flight risk and not a danger to others or the community. 18 U.S.C. § 3143(a)(1). Because this
Court does not find by clear and convincing evidence that Chansley is not a flight risk, it need not address
the issue of Chansley’s dangerousness.
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IV. CONCLUSION

For the reasons set forth above, defendant Jacob Anthony Chansley’s motion for release,

ECF No. 67, is hereby DENIED.
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This Memorandum Opinion and Order includes information regarding defendant’s
potential pre-sentencing release plan, which this Court previously allowed defendant to file under
seal since it included addresses and names of individuals. See ECF No. 67. Yet Chansley’s counsel
discussed much of the information the Memorandum Opinion and Order references from the sealed
filing during his public plea-agreement hearing. Accordingly, the Court hereby ORDERS
defendant to show cause forthwith why this Memorandum Opinion and Order should not be
unsealed, or why any portion shall remain sealed.

Itis SO ORDERED.

Date: September 4G , 2021 eo Cc Bends Te
Hon. Royce C. Lamberth
United States District Judge
